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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

IN RE:
20-13103-MAM

 

Hals Realty Associates LP
DEBTOR.

 

JUDGE: Mindy A. Mora

 

CHAPTER 11

CHAPTER 11 TRUSTEE’S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

FOR THE PERIOD

FROM 01/01/2021 TO 01/31/2021

Comes now Michael Goldberg, as Chapter 11 Trustee of the above-named debtor and files its Monthly
Operating Report in accordance with the Guidelines established by the United States Debtor and FRBP
2015.

Trustee's Address: /s/ Eyal Berger

Michael Goldberg, Trustee for Hals
Associates LP

201 East Las Olas Blvd.

Attorney for Trustee's Signature

Suite 1800 Attorney's Address and Phone Number
Fort Lauderdale, FL 33301 Eyal Berger
954-463-2700 Akerman LLP

201 E Las Olas Blvd, Suite 1800
Fort Lauderdale, FL 33301
954-463-2700

Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Debtor Office. Monthly Operating Reports must be filed by the 20th day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the
United States Debtor Program Website, http:/Avww.usdoj.gov/ust/r21/index.htm.

1) Instructions for Preparations of Debtor's Chapter 11 Monthly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs) http:/Avww.usdoj.gov/ust/.

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SCHEDULE OF RECEIPTS AND DISBURSEMENTS
FOR THE PERIOD BEGINNING 01/01/2021 AND ENDING 01/31/2021

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

 

 

Date of Petition: 3/5/2020
CURRENT CUMULATIVE
MONTH PETITION TO DATE
1. FUNDS AT BEGINNING OF PERIOD 2,971,912.38 (a) $ 2,141,208.54 {b)
2, RECEIPTS:
A. Revenue 131,427.94 1,340,115.15
Net Cash Sales 131,427.94 1,340,115.15
B. Accounts Receivable - -
C. Other Receipts (See MOR-3) 20,981,747.13 21,408,501.72
(If you receive rental income,
you must attach rent roll.)
3. TOTAL RECEIPTS (Lines 2A+2B+2C) 21,113,175.07 22,748,616.87
4. TOTAL FUNDS AVAILABLE FOR
OPERATIONS (Line 1 + Line 3) 24,085,087.45 24,889,825.41
5. DISBURSEMENTS
A. Advertising - -
B. Bank Charges 4.02 303.38
C. Contract Labor - -
D. Fixed Asset Payments (not incl. in "N") - :
E, Insurance - 27,747.00
F. Inventory Payments : -
G. Leases - -
H. Manufacturing Supplies - :
|. Office Supplies - -
J. Payroll - -
K. Professional Fees (Accounting & Legal) 342,231.09 342,231.09
L. Rent : -
M. Repairs & Maintenance - 640.00
N. Secured Creditor Payments (See Aifach. 2) 17,055,846.05 17,357,229.39
O. Taxes Paid - Payroll - -
P. Taxes Paid - Sales & Use 7,404.73 76,408.08
Q. Taxes & Licenses - 364,463.87
R. Telephone & Internet - -
S$. Travel & Entertainment - -
Y. U.S. Trustee Quarterly Fees 4,875.00 7,475.73
U. Utilities - -
V. Other Business Expense - 136.42
W. Other Disbursements (See MOR-3) - 38,463.89
6. TOTAL DISBURSEMENTS (Sum of 5A thru W) 17,410,360.89 18,215,098.85
7. ENDING BALANCE (Line 4 Minus Line 6) 6,674,726.56 (c) $ 6,674,726.56 (c)

I declare under penalty of perjury that this statement and the accompanying doc:

of my knowledge and belief.

This 20th day of February 2021

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ents an

    

orts are true and correct to the best

 

(a) This number is carried forward from last month's report. For the first report only, this

balance as of the petition date.

m

Michael Goldberg, as Chapter 11 Trustee

ill be the

(b)This figure will not change from month to month. It is always the amount of funds on hand as of the date of

the petition.

(c)These two amounts will always be the same if farm is completed correctly.

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MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont'd)
Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each {tem of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.

 

 

 

 

 

 

 

 

 

 

 

Cumulative
Description Current Month Petition to Date
Love Realty Walking Street LLC $ - $ 38,463.89
Hal Realty (DB #4546) - $5,370.32
Furr Cohen - Debtor's funds held in trust - 287 825.40
Interest Income from CDs 824.97 §,919.95
First Equity Abstract 1,050,000.00 1,050,000.00
PB Worth Partners, LLC 19,930,922.16 19,930,922.16
TOTAL OTHER RECEIPTS $ 20,981,747.13 $ 21,408,501.72

 

“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties,
directors, related corporations, etc.) Please describe below:

Loan Amount Source of Funds Purpose Repayment Schedule

 

 

 

 

 

OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement, Write totals on Page MOR-2, Line 5W.

 

 

 

 

 

 

 

 

 

 

Cumulative
Description Current Month Petition to Date
Love Realty Walking Street LLC : 38,463.89
TOTAL OTHER DISBURSEMENTS $ : $ 38,463.89

 

NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement. “

**The Trustee is maintaining the books and records on a cash basis, therefore there is no balance sheet and the income statement reflects the
receipts and disbursements per the MOR

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ATTACHMENT 1
MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

 

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 01/01/2021 and ending 01/31/2021

ACCOUNTS RECEIVABLE AT PETITION DATE: N/A

ACCOUNTS RECEIVABLE RECONCILIATION
(include all accounts receivable, pre-petition and post-petition, including charge card sales which have not been received):

Beginning of Month Balance: $ 152,373 (a)
PLUS: Current Month New Billings $ >
MINUS: Collections During the Month $ - — (b)
PLUS/MINUS: Adjustments of Write-offs $ -__*

End of Month Balance $ 152,373 (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:

 

POST PETITION ACCOUNTS RECEIVABLE AGING
(Show the total amount for each aging category for all accounts receivable)

0-30 Days 31-60 Days 61-90 Days Over 90 Days Total
$ - $ - $ - $ 152,373 $ 152,373 (c)

For any receivables in the "Over $90 Days" category, please provide the following:

 

Receivable Status (Collection efforts taken, estimate of collectability, write-
Customer Date off, disputed account, etc.)
Tourneau 2/18/2020 Tenant remitting partial paymemt. due to Covid-19

 

 

 

 

 

(a) This number is carried forward from last month's report. For the first report only, this number will be the balance as of the
petition date.

(b) This must equal the number reported in the "Current Month" column of Schedule of Receipts and Disbursements (Page
MOR-2, Line 2B).

(c) These two amounts must equal.

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ATTACHMENT 2
MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

 

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM
Reporting Period beginning 01/01/2021 and ending 01/31/2021
In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts owed

prior to filing the petition. In the alternative, a computer generated list of payables may be attached provided all information
requested below is included.

 

POST-PETITION ACCOUNTS PAYABLE

 

 

 

 

 

 

 

 

Date Days
Incurred Qutstanding Vendor Description Amount
$ -
TOTAL AMOUNT $ -___(b)

 

[check here is pre-petition debts have been paid. Attach an explanation and copies of supporting

 

 

 

 

 

documentation.

ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only):

Opening balance $ -___ a)
PLUS: New Indebtedness Incurred This Month $ -
MINUS: Amount Paid on Post Petition,

Accounts Payable This Month $ -
PLUS/MINUS: Adjustments $ - *
Ending Month Balance $ = (e)

 

*For any adjustments provided explanation and supporting documentation, if applicable.

 

SECURED PAYMENTS REPORT

List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a modification
agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee Program prior to
completing this section.

 

 

 

 

 

 

 

Secured Date Payment Amount Pout Paitin Total Amount of
Creditor / Due This Paid This Payments Post Petition Payments
Lessor Month Month Delinauent Delinquent
Bank of America 3,392,751.63 Q
$.M.S. 13,663,094.42
TOTAL $ 17,055,846.05 (d)

(a) This number is carried from last month's report. For the first report only, this number will be zero.
(b,c)The total of line (b) must equal line (c).
(d)This number is reported in the "Current Month" column of Schedule of Receipts and Disbursements (Page MOR-2, Line SN).

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ATTACHMENT 3
INVENTORY AND FIXED ASSET REPORT

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

 

Reporting Period beginning 01/01/2021 and ending 01/31/2021

 

 

 

 

 

 

 

 

 

 

 

 

INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE: N/A

INVENTORY RECONCILIATION:

Inventory Balance at Beginning of Month $ -__(a)
PLUS: Inventory Purchased During Month $ -
MINUS: Inventory Used or Sold $ -
PLUS/MINUS: Adjustments or Write-downs $ -__*

Inventory on Hand at End of Month $ :

METHOD OF COSTING INVENTORY:

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

INVENTORY AGING
Less than 6 6 months to Greater than Considered
months old 2 years old 2 years old Obsolete Total Inventory
100.00% 0.00% 0.00% 0.00% = 100% *
*Aging Percentages must equal 100%
[Check here if inventory contains perishable items.
Description of Obsolete Inventory:
FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE: NIA (b)

 

(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION: (First Report Only):

 

 

 

FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month
MINUS: Depreciation Expense
PLUS: New purchases
PLUS/MINUS: Adjustments or Write-downs
Ending Monthly Balance

649,839 (a)(b)

*

649,839

 

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tA lA 18/9 146

 

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:

 

 

(a) This number is carried forward from last month's report. For the first report only, this number will be the balance as of
the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.

Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.

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ATTACHMENT 4A
MONTHLY SUMMARY OF BANK ACTIVITY
Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM
Reporting Period beginning 01/01/2021 and ending 01/31/2021
Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be
found at http:/Avww.usdoj.gov/ust/r2 1/index.htm. If bank accounts other than the three required by the United States Trustee Program are necessary,

permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

 

 

 

 

NAME OF BANK: _tberia Bank BRANCH:
ACCOUNT NAME: Hats Realty Associates ACCOUNT NUMBER: 6243
PURPOSE OF ACCOUNT:
Ending Balance Per Bank Statement $ 295,647.46
Plus Total Amount of Outstanding Deposits $ :
Minus Total Amount of Outstanding Checks and other debits $ -*
Minus Service Charges $ :
Ending Balance Per Check Register $ 295,647.46 **(a)
*Debit cards are used by
**If Closing Balance is negative, provide explanation:
The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
(check here if cash disbursements were authorized by United States Trustee)
Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

 

 

TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits”, listed above includes:

$ - Transferred to Payroll Account
$ - Transferred to Tax Account

 

 

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance" on Schedule of Receipts
and Disbursements (Page MOR-2, Line 7).

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ATTACHMENT 5A
CHECK REGISTER
Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 01/01/2021 and ending 01/31/2021

 

 

 

NAME OF BANK: Iberia Bank BRANCH:
ACCOUNT NAME: Hals Realty Associates

ACCOUNT NUMBER: 6243

PURPOSE OF ACCOUNT:

 

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can
be attached to this report, provided all the information requested below is included.

Date Check

= Number Payee Purpose Amount

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL $ -

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ATTACHMENT 4¢
MONTHLY SUMMARY OF BANK ACTIVITY
Name of Debtor: Hats Realty Associates LP Case Number: 20-13103-MAM
Reporting Period beginning 01/01/2021 and ending 01/31/2021
Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be
found at http:/Avww.usdoj.gov/ust/r2 1/index.htm. If bank accounts other than the three required by the United States Trustee Program are necessary,

permissicn must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

 

 

 

 

NAME OF BANK: City National bank BRANCH:
ACCOUNT NAME: Hals Realty Associates LP ACCOUNT NUMBER: 1273
PURPOSE OF ACCOUNT:
Ending Balance Per Bank Statement $ 5,319,267.95
Plus Tota! Amount of Outstanding Deposits $ 26,280.83
Minus Total Amount of Outstanding Checks and other debits $ - *
Minus Service Charges $ -
Ending Balance Per Check Register $ 5,345,548.78 **(a)
“Debit cards are used by
** If Closing Bafance is negative, provide explanation:
The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
(check here if cash disbursements were authorized by United States Trustee)
Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

 

 

TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

$ - Transferred to Payroll Account
$ - Transferred to Tax Account

 

 

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance" on Schedule of Receipts
and Disbursements (Page MOR-2, Line 7).

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ATTACHMENT 5C

CHECK REGISTER

Name of Debtor: Hals Realty Associates LP

Reporting Period beginning 01/01/2021 and ending 01/31/2021

 

 

 

NAME OF BANK: City National bank
ACCOUNT NAME: Hals Realty Associates LP
ACCOUNT NUMBER: 1273

PURPOSE OF ACCOUNT:

 

Case Number:

BRANCH:

20-13103-MAM

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can be

attached to this report, provided all the information requested below is included.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date ater Payee Purpose Amount
1/15/2021 City National Bank Bank Charges 4.02
1/20/2021 U.S. Trustee U.S. Trustee Quarterly Fees 4,875.00
1/20/2021 Fla Dept Revenue Sales Tax 7,404.73
1/20/2021 1020 Furr and Cohen, PA Professional Fees 52,862.29
1/20/2021 1021 Liebler, Gonzalez & Portuondo Trust Acct Professional Fees 66,531.31
1/20/2021 1017 1st Equity National Title Closing Svcs Professional Fees 205,337.49
4/21/2021 1019 Bullard Law Group, PLLC Professional Fees 17,500.00
1/21/2021 1022 $.M.S. CO Creditor 13,663,094.42
1/25/2021 1018 Bank of America Mortgage payoff 3,392,751.63

TOTAL $ 17,410,360.89
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ATTACHMENT 4D
INVESTMENTS ACCOUNTS AND PETTY CASH REPORT

INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks and bonds, etc., should
be listed separately. Attach copies of account statements. (Nofe 7)

 

 

 

 

 

 

Type of Negotiable
Current
Instrument Face Value Purchase Price Date of Purchase Market Value
CD - FCB xx6965 $ - $ - $ 61,759.84
CD - IB xx6865 971,770.48
TOTAL $ 1,033,530.32 (a)

PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

 

 

 

(Column 2} (Column 3) (Column 4)

Maximum Amount Amount of Petty Difference between
Location of of Cash in Drawer/ Cash On Hand At (Column 2) and
Box/Account Acct. End of Month (Column 3)

$ : $ - $ -
TOTAL $ : (b)

For any Petty Cash Disbursement over $100 per transaction, attach copies of receipts. If there are no receipts,
provide an explanation

 

 

 

TOTAL INVESTMENT ACCOUNTS AND PETTY CASH (a + b) $ 1,033,530.32_(c)

(c) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as "Ending
Balance" on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).

Note 1: Account statements were not made available. The reported account value is as of September 30, 2020.

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ATTACHMENT 6
MONTHLY TAX REPORT
Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM
Reporting Period beginning 01/01/2021 and ending 01/31/2021
TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales tax, property tax,
unemployment tax, State workmen's compensation, etc.

 

 

 

 

 

 

 

 

 

 

 

Name of Taxin Date. Date Last Tax
Authority Payment. Description Amount “Return Filed Tax Return Period
TOTAL $ .

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ATTACHMENT 7

SUMMARY OF OFFICER OR OWNER COMPENSATION
SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor: Hats Realty Associates LP Case Number: 20-13103-MAM
Reporting Period beginning 01/01/2021 and ending 01/31/2021
Record all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include car allowances, payments to retirement plans, loan

repayments, payments of Officer/Owner’s persona! expenses, Insurance premium payments, etc. Do not include reimbursement of business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of Officer or Owner Title Payment Description Amount Paid
PERSONNEL REPORT
Full Time Part Time
Number of employees at beginning of period 0 0
Number hired during the perlod 0 0
Number terminated or resigned curing period 0 oO
Number of employees on payroll at end of period 0 0

 

 

 

CONFIRMATION OF INSURANCE

List all poticles of Insurance In effect, including but not limited to workers' compensation, liability, fire, theft, comprehensive, vehicle, health and life. Fer the first report, atlach a
copy of the declaration sheet for each type of insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during the month (new
catrier, increased policy limits, renewal, etc.).

 

 

 

 

Phone Expiration Date Premium
Agent and/or Carrier Number Policy Number Coverage Type Date Due
Westchester Fire Insurance Co 561-622-2550 D42248976002 Property 02/01/21 NYA
Wright National Flood Ins Co 1-800-820-3242 1151026975 Flood 10/14/21 NIA
Wright National Flood Ins Co 1-800-820-3242 1151261809 Flood o8S/24 NIA
Wright Natlonal Flood Ins Co 1-800-820-3242 1151261808 Flood oer15/21 NIA

 

 

 

 

 

 

 

 

 

 

The following lapse in insurance coverage occurred this month:

Poticy Date

Type Lapsed Date Reinstated Reason far Lapse

 

 

 

 

[check here if U.S. Trustee has been listed as Certificate Holder for all Insurance policies.

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ATTACHMENT 8

SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Name of the Debtor: Hals Realty Associates LP Case Number:  20-13103-MAM

 

Reporting Period beginning 01/01/2021 and ending 01/31/2021

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not reported on this report,
such as the sale of real estate (attach closing statement ); (2) non-financial transactions, such as the substitution of assets or
collateral; (3) modifications to loan agreements; (4) change in senior management, etc.

Attach any relevant documents.

 

On 01/13/21, the sale of the Debtor's commerical real property to Rhinebeck Realty LLC closed.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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* City National Bank

Bei FINANCIAL GROUP

 

 

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Page:

Account:
Client Service

(2) Online
“we! citynational.com

   

©

lof3
XXXXXXX1273

CityTel
1-800-762-CITY (2489)

A Your Banking Center Telephone
os Private Client Group 305-577-7336
P.O, Box 025620 800-435-8839

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

P:60184 / T: / S: Miami, FL 33102-5620
f Your Banking Center Hours
HALS REALTY ASSOCIATES LIMITED PARTNER ae Re Sees
SHIP BANKRUPTCY DEBTOR IN POSSESSION
MICHAEL | GOLDBERG '
CASE NO:20-13103-MAM (sk
350 E LAS OLAS BLVD STE 1600
FT LAUDERDALE FL 33301-4247 )
For additional locations Member
and hours, please visit FO, HOURS
citynational.com FDIC LENDER
Bankruptcy
Account Summary Enhance your
Account: XXXXXXX1273 Beginning Balance: $1,687,691.61 1 ri
Last Statement: December 31,2020 — Ending Balance: $5,319,267.95 banking SAPEMEREE
This Statement: January 29,2021 Average Ledger Balance: $8,397,474.41 with Alexa.
Low Balance: $1,687,691.61
Daily Activi With Amazon Alexa-enabled
ally Activity devices, you can enjoy
Date Description Deposits/ Withdrawals/ Balance voice-activated, hands-free
Additions Subtractions : : .
oa banking in the privacy of
12-31 Beginning balance 1,687,691.61
01-07 _Tourneau Payables 014573 34,734.24 __1,722,425.85 ea HONS teat at ee
01-11 Deposit 26,280.83 1,748,706.68 (305) 349-5490 for details.
01-13 Wire Transfer First Equity Abstract 1,050,000.00 2,798,706.68
02100002131Ft01
01-14 Wire Transfer Pb Worth Partners, LI 19,930,922.16 22,729,628.84
—__02600959310Ft01 : ae =
01-15 MonthlyServiceFee 4.02 _22,729,624.82
01-20 Quarterly Fee Payment 0000 a ee —__ 4,875.00 22,724,749.82
01-20 Fla Dept Revenue C01 197563447 ; 7,404.73 22,717,345.09
01-20 Check # 1020 52,862.29 22,664,482.80
01-20 Check #1021 ee __ 66,531.31 22,597,951.49 _
01-20 Check #1017 205,337.49 22,392,614.00 _

 

 

01-21 Check # 1019

17,500.00 22,375,114.00
13,663,094.42 _8,712,019.58_
: 3,392,751.63 _5,319,267.95
21,041,937.23 17,410,360.89 _5,319,267.95_

 

01-21 Check #1022

01-25 Check#1018

01-29 Ending totals

 

 

 

 

 

Join us on
social media!

 

Continued on the next page

ARE YOU PAYING
TOO MUCH FOR
YOUR MORTGAGE?

Mortgage interest rates are low
and you may have an opportunity
to reduce your monthly payment.
Contact your banker for details or
call 1-888-682-5932, option 4 from
the main menu.

 

 
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Page: 20f3
Account: XXXXXXX1273
Checks
iNumber Date Amount Number Date Amount
1017 01-20 205,337.49 1020 01-20 52,862.29
1018 01-25 3,392,751.63 1021 01-20 66,531.31
1019 01-21 17,500.00 1022 01-21 13,663,094.42

 

* Skip In Check Sequence

Continued on the next page
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IBERIABANK

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STATEMENT OF ACCOUNT
Date 1/29/21 Page 1 of 2

 

 

 

 

 

 

© PLEASE CONTACT YOUR
T37 P2 124172-1-14-1 - 10821 RELATIONSHIP MANAGER
agar HALS REALTY ASSOCIATES WITH ANY QUESTIONS
= C/O WALKING STREETS OR GALL
oiazt PQ BOX 2528 _onn.one.
PALM BEACH FL 33480 1-800-968-0801
24-hr Online Banking
iberiabank.com

FREE BUSINESS CHECKING ACCOUNT NUMBER *******6243
Previous Balance 225,234.59 Statement Dates 4/01/21 thru 1/31/21

1 Deposits/Credits 70,412.87 Days this Statement Period 31

Checks/Debits .00 Average Ledger Balance 250,219.80
Service Charge 00 Average Collected Balance 250,219.80
Interest Paid .00
Current Balance 295,647.46
DEPOSITS AND CREDITS
Date Description Amount
1/21 PAYMENT JPMORGAN CHASE B 70,412.87

CCD HALS REALTY ASSOCIATES

DAILY BALANCE INFORMATION
Date Balance Date Balance
1/01 225,234.59 1/21 295,647.46

 

Please examine this statement upon receipt and report at once if you find any difference.

if no error is reported in 30 days, the account will be considered correct, All items are credited subject to final payment.

0008s
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THIS FORM IS PROVIDED TO HELP YOU BALANCE

YOUR BANK STATEMENT
CHECKS OUTSTANDING-NOT BANK BALANCE SHOWN
CHARGED TO ACCOUNT ON THIS STATEMENT $

ADD
DEPOSITS NOT SHOWN
ON THIS STATEMENT
(IF ANY) §
TOTAL §
SUBTRACT—
CHECKS OUTSTANDING §
BALANCE §

SHOULD AGREE WITH YOUR CHECK BOOK BALANCE
AFTER DEDUCTING SERVICE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT.

NOTE

Please make sure you have entered in your
check register alt automatic transactions,
such as charges and interest earned, shown
on the front of this statement.

 

Please examine immediately and report if incorrect. If no reply is
received within 30 days the account will be considered correct.

 

 

 

Member In Case of Errors or Questions About Your Electrenic Transfers
POC TELEPHONE US AT: 1-800-682-3231 OR
WRITE US AT: P, 0, BOX 7299, Little Rock, AR 72217-7299

As soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt.
We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem appeared.

1)Tell us your name and account number.

2) Desatbe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need mare information.

3) Tell us the dollar amount of the suspected error.
We will investigate your complaint and will correct any error promptly. If we take more than ten business days to do this, we will credit your account for the amount you think is in error, so that you will have
use of the money during the time it takes us to complete cur investigation. This Requlation E enor resolution notice is only applicable to consumer accounts. A consumer account 's defined as an account
used primarily for persanal, family and household purposes.

LINE OF CREDIT ACCOUNT (HFORMATION

Refer to the Line of Credit section of this statement. We figure the finance charge on your account by applying the periodic rate to the “Average Daily Balance” of your account {induding current transactions),
To get the “Average Dally Balance” we take the beginning balance of your account each day, add any new advances, and subtract any payments or credits. This gives us the dally balance. We then add up

all the dally balances for the billing cycle and divide the total by the number of daysin the billing cycle, This gives us the “Average Daily Balance.” We then multiply this Average Dally Balance by the daily
periodic rate that has been established for your Account (shown on your statement along with the corresponding annual percentage rate) and then we multiply the product by the number of days in the
billing cyde. The result is the dollar figure shawn on your statement as “Finance Charge” Finance Charges for advances on your line will begin to accue on the date such advances are posted to your account
and will continue until the date your account is paid in full, There is no grace period that would allow you to avoid a finance charge on your account, On the closing date of your bilting cycle, we will calculate
the amount of your minimum payment due as per your original contract. We figure this minimum payment by calculating a percentage cf the New Balance of your account (less any amount you have writ-
tan to us to dispute that we are currently investigating), "New Balance” means the total outstanding balance of your ine on any cycle closing date which Indudes principal. If the New Balance is less than
of equal to the minimum payment required on your account, your minimum payment will be the entire New Balance (less any disputed ammount), plus finance charges and other fees. If you have elected to
make equal or level payments on your Account, your minimum payment will be calculated accordingly. The amount of your minmum payment fs disclosed to you on this statement and will be automatically
deducted from your checking account. Ifyou wish to make payments in addition to those which are automatically deducted from your checking account, you may do so at any time. Payments may be malled
to the address shown on the statement, Attn.: Loan Accounting, Additional payments which are mailed to that address will be credited to your account as of the date of receipt. Payment made at any branch
office will be cedited promptly to your account, but in no event later than 5 days after receipt.

IN CASE GF ERRORS OR QUESTIONS ABOUT YOUR LINE CF CREDIT AKGUNT STATEMENT
Ifyou think your bill is wrong, or if you need more information about a transaction on your statement, write us an a separate sheet at the address shown on the face of this statement as soon as possible. We
must hear from ycu no later than 60 days after we sent you the FIRST statement on which the error of problem appeared. You can telephone us, but doing so will not preserve your rights.
Inthe letter, please qive us the following Information:
* Your name and account number,
¢ Thedollar amount of the suspected err.
« Describe the error and explain, if you can, why you believe there is an enor, if you need more information, describe the item that you are not sure about. You do not have to pay any amount
in question while we ace investigating, but you are still cbligated to pay the parts of your bill that are nat in question. While we are investigating your question, we cannot report you as
delinquent or take any action to collect the amount you question.

 

 

 
